                                     Case 19-14814-RAM             Doc 2         Filed 04/12/19       Page 1 of 3
                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                              CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                           Original Plan
                                                                 Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                 Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Inlis Portillo                                JOINT DEBTOR: Mariuska Kauffman                      CASE NO.:
SS#: xxx-xx- 4666                                        SS#: xxx-xx-9606
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                  Included         ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                  Included         ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                 Included         ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $3,551.72           for months   1    to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                             NONE      PRO BONO
        Total Fees:            $3650.00            Total Paid:             $690.00            Balance Due:            $2960.00
        Payable             $80.00          /month (Months 1     to 37 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorneys Fees + $150 Cost = $3650

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Flagstar Bank
              Address: 5151 Corporate Drive              Arrearage/ Payoff on Petition Date   $20,265.24
                       Troy, MI 4098
                                                         Regular Payment (Maintain)                   $2,350.00      /month (Months    1   to 60 )

         Last 4 Digits of                                Arrears Payment (Cure)                        $337.75       /month (Months    1   to 60 )
         Account No.:                4175
        Other:




LF-31 (rev. 10/3/17)                                                    Page 1 of 3
                                         Case 19-14814-RAM                  Doc  2 Filed 04/12/19 Page 2 of 3
                                                                             Debtor(s): Inlis Portillo, Mariuska Kauffman                  Case number:

         ■   Real Property                                                                Check one below for Real Property:
                 ■ Principal      Residence                                                ■     Escrow is included in the regular payments
                       Other Real Property                                                       The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:
         8420 NW 170 Terrace, Hialeah, FL

             Personal Property/Vehicle
         Description of Collateral:

         2. Creditor: Nissan Motor Acceptance
              Address: POB 660360                                 Arrearage/ Payoff on Petition Date         $1,528.29
                       Dallas, TX 75266
                                                                  Arrears Payment (Cure)                                 $25.47         /month (Months    1   to 60 )

         Last 4 Digits of                                         Regular Payment (Maintain)                             $400.00        /month (Months    1   to 60 )
         Account No.:                       0001
        Other:

             Real Property                                                                Check one below for Real Property:
                       Principal Residence                                                       Escrow is included in the regular payments
                       Other Real Property                                                       The debtor(s) will pay         taxes       insurance directly
         Address of Collateral:



         ■   Personal Property/Vehicle
         Description of Collateral: 2015 Nissan Pathfinder
             B. VALUATION OF COLLATERAL:                           ■    NONE
             C. LIEN AVOIDANCE                     ■    NONE
             D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                distribution fom the Chapter 13 Trustee.
                       ■    NONE
             E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
                fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor                  Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             AML Auto Sales                                                 2012 Chevy Express
                       1.
IV.          TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
             A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                                  ■     NONE
             B. INTERNAL REVENUE SERVICE:                          ■    NONE
             C. DOMESTIC SUPPORT OBLIGATION(S):                             ■    NONE
             D. OTHER:             ■   NONE
V.           TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $3.33              /month (Months   1       to 37 )
                       Pay          $83.33             /month (Months 38        to 60 )
LF-31 (rev. 10/3/17)                                                               Page 2 of 3
                                        Case 19-14814-RAM                Doc  2 Filed 04/12/19 Page 3 of 3
                                                                          Debtor(s): Inlis Portillo, Mariuska Kauffman     Case number:
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.           If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                    ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■   NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                          ■   NONE
VIII.       NON-STANDARD PLAN PROVISIONS                        ■   NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                               Debtor                                                               Joint Debtor
  Inlis Portillo                                                 Date                 Mariuska Kauffman                                   Date



  /s/Robert Sanchez, Esq.                          April 12, 2019
    Attorney with permission to sign on                       Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




LF-31 (rev. 10/3/17)                                                        Page 3 of 3
